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                                                                                Form 24-1




UNITED STATES COURT OF INTERNATIONAL TRADE                                  FORM 24



 Tate & Lyle                                     .
                                                            Court No.:   2;.ex.11125
                       Plaintiff,

                       v.


United States                                    .
                       Defendant.




              ORDER FOR STATUTORY INJUNCTION UPON CONSENT

       Pursuant to 19 U.S.C. § 1516a(c)(2), this Court may enjoin the liquidation of all

entries of merchandise identified below;

       The above-captioned parties agree that, as required by 19 U.S.C. § 1516a(c)(2),

a proper showing has been made that the requested injunctive relief should be granted

under the circumstances;

       Accordingly, it is hereby

       ORDERED that Defendant, United States, together with its delegates, officers,

agents, and servants, including employees of the U.S. Customs and Border Protection

and the U.S. Department of Commerce, is enjoined during the pendency of this

litigation, including any appeals, from issuing instructions to liquidate or making or

permitting liquidation of any entries of




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